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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 24-cv-23240

  TUSHBABY, INC.,

          Plaintiff,

     v.

   DCUTIE, a Foreign Corporation,

        Defendant.
  ________________________________________/

                                     AMENDED COMPLAINT

          Plaintiff TUSHBABY, INC. (“Plaintiff”), by and through undersigned counsel, sues

  DCUTIE (“Defendant”) and states:

                                         INTRODUCTION

          1.      This action has been filed by Plaintiff to combat e-commerce sellers online who

  infringe Plaintiff’s intellectual property rights and trade upon Plaintiff’s reputation and goodwill

  by selling and/or offering for sale products in connection with Plaintiff’s distinctive trade dress

  (the “TUSHBABY Trade Dress”) as well as copyrights, which are covered by at least U.S.

  Copyright Office Registrations No. VA 2-355-341, VA 2-360-715, VA 2-360-714, VAu 1-511-

  350, VA 2-360-713, VAu 1-511-354, VAu 1-511-372, and VAu 1-508-280 (collectively, the

  “TUSHBABY Copyright Registrations”). The registrations are valid, subsisting, and in full force

  and effect. True and correct copies of the federal copyright registration certificates for the

  TUSHBABY Copyright Registrations are attached hereto as Exhibit 1.

          2.      TushBaby’s premier product is the TushBaby Hip Seat Carrier (the “TUSHBABY

  Carrier”), a stylish and innovative baby carrier. The TUSHBABY Carrier bears the unique and



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  distinctive TUSHBABY Trade Dress which consists of the overall design and configuration of the

  product, as shown in the copyright-protected photographs below:




          3.       Defendant is improperly advertising, marketing and/or selling unauthorized and

  non-compliant products (the “Infringing Products”) by reference to and/or embodying Plaintiff’s

  trade dress and copyrights, which causes further confusion and deception in the marketplace.

          4.       Defendant is a corporation based in China, which goes to great lengths to conceal

  its true identity.

          5.       The Defendant has created a fully interactive commercial internet store operating

  within the Walmart online marketplace (the “Defendant Internet Store” or “Internet Store”). The

  Defendant designed its Internet Store to appear to be selling Plaintiff’s genuine TUSHBABY

  products that embody and/or are sold by reference to the TUSHBABY Trade Dress and

  TUSHBABY Copyright Registrations (the “TUSHBABY Products”), while selling inferior

  imitations of such products.

          6.       Plaintiff has been forced to file this action to combat Defendant’s infringement of the

  TUSHBABY Trade Dress and TUSHBABY Copyright Registrations, as well as to protect

  unknowing consumers from purchasing Infringing Products. As a result of Defendant’s actions,


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  Plaintiff has been and continues to be irreparably damaged through consumer confusion and

  tarnishment of its valuable copyrights and goodwill and, therefore, seeks injunctive and monetary

  relief.

            7.     This Court has personal jurisdiction over each Defendant, in that each Defendant

  conducts significant business in Florida and in this Judicial District, and the acts and events giving

  rise to this lawsuit of which each Defendant stands accused were undertaken in Florida and in this

  Judicial District. In addition, each Defendant has offered to sell and ship and/or sold and shipped

  infringing products into this Judicial District.

                                    JURISDICTION AND VENUE

            8.     This Court has original subject matter jurisdiction over the trade dress claim

  pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1151, 28 U.S.C. § 1338(a)–(b), and 28

  U.S.C. § 1331.

            9.     This Court has original subject matter jurisdiction over the copyright claim pursuant

  to the Copyright Laws of the United States, 17 U.S.C. § 101 et seq., 28 U.S.C. § 1338(a)–(b), and

  28 U.S.C. § 1331.

            10.    This Court has original subject matter jurisdiction over the false designation of

  origin claim in this action pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq.,

  28 U.S.C. § 1338(a)–(b), and 28 U.S.C. § 1331.

            11.    This Court has jurisdiction over the unfair deceptive trade practices claim in this

  action that arise under the laws of the State of Florida pursuant to 28 U.S.C. § 1367(a) because the

  state law claims are so related to the federal claims that they form part of the same case or

  controversy and derive from a common nucleus of operative facts.

            12.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may



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  properly exercise personal jurisdiction over Defendant, because it directly targets consumers in the

  United States, including Florida, through its Internet Store. Specifically, Defendant is reaching out

  to do business with Florida residents by operating one or more commercial, interactive Internet

  Store through which Florida residents can purchase unauthorized and illegal products marketed

  and sold by reference to and/or embodying Plaintiff’s trade dress and/or copyrights. The Defendant

  has targeted sales from Florida residents by operating online stores that offer shipping to the United

  States, including Florida, accept payment in U.S. dollars, and, on information and belief, has sold

  unauthorized and illegal products by reference to and/or embodying Plaintiff’s trade dress and/or

  federally registered copyright to residents of Florida. The Defendant is committing tortious acts in

  Florida, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial injury

  in the State of Florida. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) and

  1400(a) because the Defendant has committed acts of copyright and trade dress infringement in

  this judicial district, does substantial business in the judicial district, and may be found in this

  district.

                                          THE PLAINTIFF

          13.    Plaintiff TUSHBABY, INC. (“TUSHBABY.”) is a corporation incorporated under

  the laws of California and is the owner of the TUSHBABY Trade Dress and TUSHBABY

  Copyright Registrations referred to above and corresponding federal registrations attached as

  Exhibit 1.

          14.    Plaintiff is a leading infant carrier manufacturer and distributor, and has earned a

  reputation for quality, reliability and value. Plaintiff’s TUSHBABY Products constitute a

  breakthrough in the infant care industry.




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         15.     Plaintiff is the official source of TUSHBABY Products in the United States, which

  include the proprietary TUSHBABY Carrier, a single carrier that provides for the carrying of

  children aged 0-3 years old, with five storage pockets and a hideable bottle holder. Exemplary

  images of the TUSHBABY Products, which consist primarily of iteration of the TUSHBABY

  Carrier, are below:




         16.     Since at least 2018, the TUSHBABY Products have been the subject of substantial

  and continuous marketing and promotion by Plaintiff, including by way of the TUSHBABY

  Copyright Registrations. Plaintiff has and continues to widely market and promote TUSHBABY

  Products in the industry and to consumers. Plaintiff’s promotional efforts include — by way of

  example but not limitation — substantial print media, the TUSHBABY Products’ website and

  social media sites, and point of sale materials, all of which featuring at least a portion of the

  TUSHBABY Copyright Registrations.

         17.     Plaintiff has expended substantial time, money, and other resources in developing,

  advertising and otherwise promoting the TUSHBABY Products. The TUSHBABY Carrier has

  received the Mom’s Choice Award in 2022 and TUSHBABY has received praise from various

  media outlets such as Buzzfeed, Insider, and Forbes Magazine. As a result, products bearing the


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  TUSHBABY Trade Dress and/or TUSHBABY Copyrights are widely recognized and exclusively

  associated by consumers, the public, and the trade as being products sourced from Plaintiff.

         18.     Plaintiff also owns all exclusive rights, including without limitation the rights to

  reproduce the copyrighted works in copies, to prepare derivative works based upon the copyrighted

  works, and to distribute copies of the copyrighted works to the public by sale or other transfer of

  ownership, or by rental, lease, or lending, in various copyrights for the TUSHBABY Products,

  including without limitation the TUSHBABY Copyright Registrations.

                                         THE DEFENDANT

         19.     Defendant is a business entity which, upon information and belief, resides mainly

  in the People’s Republic of China or other foreign jurisdictions. Defendant conducts business

  throughout the United States, including within Florida and in this Judicial District, through the

  Defendant Internet Stores. The Defendant targets the United States, including Florida, and has

  offered to sell and, on information and belief, has sold and continues to sell Infringing Products to

  consumers within the United States, including Florida and in this Judicial District.

                         THE DEFENDANT’S UNLAWFUL CONDUCT

         20.     The success of the TUSHBABY Products has resulted in significant infringement

  of the product’s corresponding intellectual property rights.

         21.     The Defendant’s Internet Store is offering for sale, selling, and importing Infringing

  Products to consumers in this Judicial District and throughout the United States.

         22.     The Defendant created its Internet Store, DCUTIE, on the Walmart marketplace for

  the purpose of selling Infringing Products. Online marketplaces and stores, such as Walmart, are

  estimated to receive tens of millions of visits per year and to generate over $135 billion in annual

  online sales. According to an intellectual property rights seizures statistics report issued by the



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  United States Department of Homeland Security, the manufacturer’s suggested retail price of

  illegal goods seized by the U.S. government in fiscal year 2020 was over $1.3 billion. Internet

  websites like the Defendant Internet Store, which sell products in violation of the intellectual

  property rights of others, are extremely harmful to legitimate business and the economy. Illegal

  retailers like the Defendant, are estimated to contribute to tens of thousands of lost jobs belonging

  to legitimate businesses and broader economic damages such as lost tax revenue every year.

           23.   Defendant facilitates sales of Infringing Products by designing its Internet Store to

  look to unknowing consumers, to be an authorized online retailer, outlet store, or wholesaler selling

  genuine TUSHBABY Products.

           24.   Plaintiff has not licensed or authorized Defendant to use the TUSHBABY Trade

  Dress or TUSHBABY Copyright Registrations, and the Defendant is not an authorized retailers of

  genuine TUSHBABY Products.

           25.   On information and belief, the Defendant goes to great lengths to conceal its

  identity and multiplies using a fictitious name and addresses to register and operate the its Internet

  Store.

           26.   Defendant, without any authorization or license from Plaintiff, has knowingly and

  willfully used and continue to use the TUSHBABY Trade Dress and TUSHBABY Copyright

  Registrations in connection with the advertisement, distribution, offering for sale, and sale of

  Infringing Products into the United States and Florida over the Internet.

           27.   The Defendant offers shipping to the United States, including Florida (in this

  Judicial District) and, on information and belief, has offered to sell counterfeit TUSHBABY

  Products into the United States, including Florida (in this Judicial District). The manner in which




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  the Defendant conducts its business is likely to cause to Plaintiff and the consumer public, and has

  caused confusion, mistake, and deception by and among consumers.

          28.     The Defendant is irreparably harming Plaintiff.

                                    FIRST CAUSE OF ACTION
                                  COPYRIGHT INFRINGEMENT
                                      (17 U.S.C. § 101, et seq.)

          29.     Plaintiff repeats and incorporates by reference herein its allegations contained in

  paragraphs 1-28 of this Complaint.

          30.     Plaintiff owns all exclusive rights, including without limitation the rights to

  reproduce the copyrighted work in copies, to prepare derivative works based upon the copyrighted

  work, and to distribute copies of the copyrighted work to the public by sale or other transfer of

  ownership, or by rental, lease, or lending, in various copyrights for the TUSHBABY products,

  including without limitation copyrights covered by the TUSHBABY Copyright Registrations.

          31.     The Defendant has sold, offered to sell, marketed, distributed, and advertised, and

  is still selling, offering to sell, marketing, distributing, and advertising products in connection with

  the TUSHBABY copyrights without Plaintiff’s permission.

          32.     The Defendant had access to the TUSHBABY products incorporating Plaintiff’s

  registered copyrights before Defendant created its Internet Store.

          33.     Upon information and belief, Defendant has directly copied Plaintiff’s copyrights

  for the TUSHBABY products. Alternatively, Defendant’s representations of Plaintiff’s copyrights

  for the TUSHBABY products in its Internet Store is strikingly similar, or at the very least

  substantially similar, to Plaintiff’s copyrights for the TUSHBABY products and constitute

  unauthorized copying, reproduction, distribution, creation of a derivative work, and/or public

  display of Plaintiff’s copyrights for the TUSHBABY products. As just one example, the Defendant



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  deceives unknowing consumers by using the TUSHBABY copyrights without authorization within

  the product descriptions of its Online Store to attract customers as follows:




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                    Infringing Product Sold on Defendant Internet Store
                                       Compared to




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      Images of Genuine TUSHBABY Products Covered by TUSHBABY Copyright Registrations


          34.     Defendant’s exploitation of Plaintiff’s copyrights for the TUSHBABY products in

   its Internet Store constitutes infringement of Plaintiff’s TUSHBABY Copyright Registrations.

          35.     On information and belief, Defendant’s infringing acts were willful, deliberate, and

   committed with prior notice and knowledge of Plaintiff’s copyrights. The Defendant willfully,

   wantonly, and in conscious disregard and intentional indifference to the rights of Plaintiff, made

   and distributed in the United States, including this District, caused to be made and distributed in

   the United States, including this District, and aided, abetted, contributed to, and participated in

   such unauthorized making and distribution of Infringing Products.


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          36.      The Defendant either knew, or should have reasonably known, that Plaintiff’s

   TUSHBABY products were protected by copyright and their representations infringed on

   Plaintiff’s copyrights. The Defendant continues to infringe upon Plaintiff’s rights in and to the

   copyrighted work.

          37.      As a direct and proximate result of its wrongful conduct, Defendant has realized

   and continue to realize profits and other benefits rightfully belonging to Plaintiff. Accordingly,

   Plaintiff seeks an award of damages pursuant to 17 U.S.C. § 504.

          38.      In addition to Plaintiff’s actual damages, Plaintiff is entitled to receive the profits

   made by the Defendant from its wrongful acts, pursuant to 17 U.S.C. § 504(b). The Defendant

   should be required to account for all gains, profits, and advantages derived by it from its acts of

   infringement.

          39.      In the alternative, Plaintiff is entitled to, and may elect to choose statutory damages

   pursuant to 17 U.S.C. § 504(c), which should be enhanced by 17 U.S.C. § 504(c)(2) because of

   Defendant’s willful copyright infringement.

          40.      Plaintiff is entitled to, and may elect to choose, injunctive relief under 17 U.S.C. §

   502, enjoining any use or exploitation by Defendant of their infringing work and for an order under

   17 U.S.C. § 503 that any of Defendant’s infringing products be impounded and destroyed.

          41.      Plaintiff seeks and is also entitled to recover reasonable attorneys’ fees and costs of

   suit pursuant to 17 U.S.C. § 505.

          42.      Plaintiff has no adequate remedy at law, and, if Defendant’s actions are not

   enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

   well-known TUSHBABY copyrights.




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                             SECOND CAUSE OF ACTION
                  FALSE DESIGNATION OF ORIGIN & PASSING OFF
                                 (15 U.S.C. § 1125(a))

           43.    Plaintiff repeats and incorporates by reference herein its allegations contained in

   paragraphs 1- 42 of this Complaint.

           44.    Defendant’s promotion, marketing, offering for sale, and sale of infringing

   TUSHBABY Products has created and is creating a likelihood of confusion, mistake, and

   deception among the general public as to the affiliation, connection, or association with Plaintiff

   or the origin, sponsorship, or approval of Defendant’s infringing TUSHBABY Products by

   Plaintiff.

           45.    By using the TUSHBABY Trade Dress and TUSHBABY Copyright Registrations

   in connection with the sale of the Infringing Products, Defendant has created a false designation

   of origin and a misleading representation of fact as to the origin and sponsorship of the infringing

   TUSHBABY products.

           46.    Defendant’s use of trade dress that is confusingly similar to the TUSHBABY Trade

   Dress without TushBaby’s consent in connection with the sale, offering for sale, distribution,

   advertising, and/or promotion of the Infringing Products constitutes a false designation of origin

   and a false or misleading description or representation of goods, tending wrongfully and falsely to

   describe or represent a connection between TushBaby’s and Defendant’s products.

           47.    Defendant’s conduct constitutes misrepresentation of fact as to the origin and/or

   sponsorship of the infringing TUSHBABY products to the general public under 15 U.S.C. §1125.

           48.    Upon information and belief, the Defendant had actual knowledge of TushBaby’s

   ownership and prior use of the TUSHBABY Trade Dress prior to its infringing acts and has acted




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   knowingly and willfully with intent to trade upon TushBaby’s goodwill to the detriment of

   TushBaby.

          49.     As a direct and proximate result of Defendant’s actions, which constitute false

   designation of origin, false or misleading description of fact or false or misleading representation

   of fact, and unfair competition, TushBaby has suffered and continues to suffer great and irreparable

   injury, for which TushBaby has no adequate remedy at law.

          50.     If Defendant’s actions are not enjoined, Plaintiff will continue to suffer irreparable

   harm to its reputation and the goodwill subsisting in its TUSHBABY Products.

                         THIRD CAUSE OF ACTION
   VIOLATION OF FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                          (Fla. Stat. § 501.201 et seq.)

          51.     Plaintiff repeats and incorporates by reference herein its allegations contained in

   paragraphs 1- 50 of this Complaint.

          52.     Defendant’s unlawful, unauthorized, and unlicensed use of Plaintiff’s trade dress

   and copyrights on or in connection with the manufacturing, importing, exporting, advertising,

   marketing, promoting, distributing, displaying, retailing, offering for sale, selling, and/or

   otherwise dealing in Infringing Products was and is a willful and deliberate attempt to deceive,

   and actually has deceived, consumers and the public.

          53.     As such, Defendant’s actions as alleged herein constitute deceptive acts and unfair

   practices in the conduct of trade or commerce as defined and in violation of Florida’s Deceptive

   and Unfair Trade Practices Act (“FDUTPA”), Florida Statute § 501.201, et seq.

          54.     As a direct result of Defendant’s actions alleged herein, Plaintiff has suffered, and

   will continue to suffer damages and irreparable harm for which it has no adequate remedy at law.




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          55.     Pursuant to Florida Statute § 501. et seq., Florida Statute § 501.211 and Florida

   Statute § 501.2105, Plaintiff is entitled to enjoin Defendant’s unlawful conduct, as well as obtain

   actual damages, plus attorney’s fees and court costs.

                               FOURTH CAUSE OF ACTION
                       FLORIDA COMMON LAW UNFAIR COMPETITION

          56.     Plaintiffs repeat and incorporate by reference herein its allegations contained in

   paragraphs 1-55 of this Complaint.

          57.     Plaintiffs have not licensed or authorized Defendant to use the TUSHBABY Trade

   Dress or TUSHBABY Copyright Registrations, and the Defendant is not an authorized retailer of

   genuine TUSHBABY Products.

          58.     The Defendant knowingly and intentionally trades upon Plaintiff’s reputation and

   goodwill by selling and/or offering for sale products in connection with Plaintiffs’ TUSHBABY

   Trade Dress and TUSHBABY Copyright Registrations.

          59.     The Defendant’s promotion, marketing, offering for sale, and sale of Infringing

   Products has created and is creating a likelihood of confusion, mistake, and deception among the

   general public as to the quality, affiliation, connection, or association with Plaintiff or the origin,

   sponsorship, or approval of Defendant’s Infringing Products by Plaintiff in violation of Florida’s

   common law of unfair competition.

          60.     The Defendant knew, or should have known, that its promotion, marketing, offering

   for sale, and sale of Infringing Products has caused and will continue to cause confusion, mistake,

   and deception among purchasers, users, and the public.

          61.     On information and belief, the Defendant’s conduct is willful and intentional as

   Defendant attempts to avoid liability by concealing its identities, using fictitious names and

   addresses to register and operate its illegal and infringing operations and Internet Store.

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          62.     Plaintiff has no adequate remedy at law, and Defendant’s conduct has caused

   Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

   will suffer future irreparable harm as a direct result of Defendant’s unlawful activities.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment against Defendant and each of them as

   follows:

          1.      That Defendant, its affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under, or in active concert with it be

   temporarily, preliminarily, and permanently enjoined and restrained from:

                  a.      using the TUSHBABY Trade Dress and TUSHBABY Copyright

                          Registrations or any reproductions, copies, or colorable imitations thereof

                          in any manner in connection with the distribution, marketing, advertising,

                          offering for sale, or sale of any product that is not a genuine TUSHBABY

                          product or is not authorized by Plaintiff to be sold in connection with the

                          TUSHBABY Trade Dress and TUSHBABY Copyright Registrations;

                  b.      passing off, inducing, or enabling others to sell or pass off any product as a

                          genuine TUSHBABY product or any other product produced by Plaintiff

                          that is not Plaintiff’s or not produced under the authorization, control, or

                          supervision of Plaintiff and approved by Plaintiff for sale under or by

                          reference to the TUSHBABY Trade Dress and TUSHBABY Copyright

                          Registrations;

                  c.      committing any acts calculated to cause consumers to believe that

                          Defendant’s infringing TUSHBABY products are those sold under the



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                     authorization, control, or supervision of Plaintiff, or are sponsored by,

                     approved by, or otherwise connected with Plaintiff;

              d.     further infringing the TUSHBABY Trade Dress and TUSHBABY

                     Copyright Registrations and damaging Plaintiff’s goodwill;

              e.     otherwise competing unfairly with Plaintiff in any manner;

              f.     shipping, delivering, holding for sale, transferring, or otherwise moving,

                     storing, distributing, returning, or otherwise disposing of, in any manner,

                     products or inventory not manufactured by or for Plaintiff, nor authorized

                     by Plaintiff to be sold or offered for sale, and which copy any Plaintiff

                     copyright, including the TUSHBABY Trade Dress and TUSHBABY

                     Copyright Registrations or any reproductions, copies, or colorable

                     imitations thereof; and

              g.     using, linking to, transferring, or exercising control over the Defendant

                     Internet Stores or any other online marketplace account that is being used

                     to sell or is the means by which Defendant could continue to sell Infringing

                     Products and/or any other product that infringes the TUSHBABY Trade

                     Dress and TUSHBABY Copyright Registrations.

        2.    Entry of an Order that Walmart and any other online marketplace account provider:

               a.     disable and cease providing services for any accounts through which the

                      Defendant engages in the sale of Infringing Products, including the its

                      Internet Stores and/or any other accounts associated with the Defendant;

                      and




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                  b.      disable and cease displaying any advertisements used by or associated

                          with the Defendant in connection with the sale of Infringing Products.

          3.     The Defendant accounts for and pays to Plaintiff all profits realized by Defendant

   by reason of Defendant’s unlawful acts herein alleged.

          4.     In the alternative, that Plaintiff be awarded statutory damages of not less than $750

   and not more than $30,000 for each and every infringement of Plaintiff’s copyrights pursuant to

   17 U.S.C. § 504(c), which should be enhanced to a sum of not more than $150,000 by 17 U.S.C.

   § 504(c)(2) because of Defendant’s willful copyright infringement;

          5.     That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

          6.     Award any and all other relief that this Court deems just and proper.



    Dated:     August 23, 2024                      Respectfully submitted,

                                                    BOIES SCHILLER FLEXNER LLP

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